        Case 1:20-cv-00186-JPW Document 1 Filed 02/03/20 Page 1 of 15




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                      HARRISBURG DIVISION

HLFIP HOLDING, INC. d/b/a SMART
COMMUNICATIONS IP HOLDINGS,

             Plaintiff
                                             CIVIL ACTION
       v.                                    NO.

YORK COUNTY, PENNSYLVANIA;                   JURY TRIAL DEMANDED
YORK COUNTY PRISON; and
CLAIR DOLL, in his official capacity as
York County Prison Warden,

                Defendants.


               COMPLAINT FOR PATENT INFRINGEMENT

      Plaintiff HLFIP Holding, Inc. d/b/a Smart Communications IP Holdings

(“Smart Communications IP”), for its complaint for damages and injunctive relief

against defendants York County, Pennsylvania (“York County”), York County

Prison (“YCP”), and its Warden, Clair Doll, in his official capacity (collectively,

“Defendants”), hereby alleges as follows:

                          NATURE OF THE ACTION

      1.    This is an action for patent infringement under 35 U.S.C. § 271.

Defendants have infringed, continue to infringe, and actively induce the

infringement of United States Patent No. 10,291,617 (the “Asserted Patent”). Upon

information and belief, Defendants infringe the Asserted Patent through their
        Case 1:20-cv-00186-JPW Document 1 Filed 02/03/20 Page 2 of 15




implementation and use of a postal-mail-elimination system that is based on Smart

Communications IP’s patented MailGuard® technology.

                                  THE PARTIES

      2.     Plaintiff Smart Communications IP is a Florida corporation having a

principal place of business at 10491 72nd Street, Seminole, FL 33777.

      3.     Defendant York County, of the Commonwealth of Pennsylvania, is a

governmental entity organized under its ordinances, resolutions, policies,

regulations, and bylaws, and managed by the York County commissioners and

administrators, with offices at York County Administrative Center, 28 East Market

St., York, PA 17401. York County can be served via its county administrators at the

foregoing address, including Chief Clerk Mark E. Derr, who is the county’s highest

ranking manager.

      4.     Defendant YCP is an adult correctional facility, managed and funded

by York County via the county commissioners and administrators and the York

County Prison Board, and located at 3400 Concord Road, York, PA 17402. YCP can

be served via its warden, Clair Doll, at the foregoing address.

      5.     Defendant Clair Doll is the Warden of York County Prison. Upon

information and belief, one of Mr. Doll’s official duties as Warden is overseeing

operations at the YCP, including the selection, implementation, and use of certain

technology and systems within that facility. Mr. Doll’s business address is 3400


                                          2
        Case 1:20-cv-00186-JPW Document 1 Filed 02/03/20 Page 3 of 15




Concord Road, York, PA 17402. According to 61 Pa. Cons. Stat. § 1726, “The

warden shall submit an annual written report to the board which shall contain

information on the population, conditions and practices in the prison and other

matters as specified by the board.” Upon information and belief, one of Mr. Doll’s

official duties as Warden is overseeing the conditions and practices at the YCP,

including the selection, implementation, and use of certain technology and systems

within that facility, including the infringing postal-mail-elimination technology.

                          JURISDICTION AND VENUE

      6.     This Court has jurisdiction over the subject matter of this action under

28 U.S.C. §§ 1331 and 1338(a).

      7.     This Court has personal jurisdiction over York County by virtue of the

fact that it is a governmental entity organized under the laws of the Commonwealth

of Pennsylvania. This Court has personal jurisdiction over YCP by virtue of the fact

that it is located in Pennsylvania, in this judicial district, and is operated by York

County, which is a governmental entity organized under the laws of the

Commonwealth of Pennsylvania. This Court has personal jurisdiction over Mr. Doll

by virtue of the fact that he is a resident of Pennsylvania and is employed by the

YCP within this judicial district.

      8.     Venue is proper under 28 U.S.C. §§ 1391(b) and 1400(b) because

Defendants reside in this district.


                                          3
          Case 1:20-cv-00186-JPW Document 1 Filed 02/03/20 Page 4 of 15




                           FACTUAL BACKGROUND

      9.      On May 14, 2019, the United States Patent and Trademark Office duly

and legally issued the Asserted Patent, entitled “Correctional Postal Mail

Contraband Elimination System.” A copy of the Asserted Patent is attached as

Exhibit A.

      10.     Smart Communications IP is the owner by assignment of all right, title,

and interest in the Asserted Patent. Smart Communications IP holds the intellectual

property of other Smart Communications business entities.1 The sole inventor of the

Asserted Patent, Jonathan Logan, is also the CEO of Smart Communications.

      11.     Smart Communications is a pioneer in the development of and a

national leader in the provision of inmate-communication services. For example,

Smart Communications developed and provided the first kiosk-based electronic

messaging system for correctional-facility inmates, and created groundbreaking

postal-mail-elimination technology for correctional facilities.

      12.     Smart Communications’ post-mail-elimination technology is the

subject of numerous pending U.S. patent applications and is covered by the Asserted

Patent.


1
 For the sake of convenience and for the purposes of this pleading, hereinafter in
the Factual Background section, Smart Communications IP and other Smart
Communications business entities will be referred to collectively as “Smart
Communications.”

                                          4
        Case 1:20-cv-00186-JPW Document 1 Filed 02/03/20 Page 5 of 15




      13.    Smart Communications’ products and systems utilizing its patented

technology are branded MailGuard® and MailGuard Postal Mail Elimination®.

      14.    Postal mail is the number-one method for sneaking illegal drugs,

contraband, and secret communications into correctional facilities. Thus, the

elimination of postal mail is critical to the safe operation of correctional facilities in

that it significantly reduces, and in many cases altogether stops, the infiltration of

those undesirable and potentially dangerous items.

      15.    Accordingly, correctional facilities throughout the United States—from

small county jails to larger state-run facilities housing thousands of inmates—utilize

Smart Communications’ MailGuard® technology.

      16.    Under the authority of the Pennsylvania Consolidated Statutes, the

Department of Corrections of the Commonwealth of Pennsylvania and the

Pennsylvania Board of Probation and Parole are permitted to contract with various

entities to provide programs and services including “[f]acilitating visitation and

maintenance of family relationships with respect to offenders by addressing

obstacles such as travel, telephone costs, mail restrictions and restrictive visitation

policies.” 61 Pa. Cons. Stat. § 4904(a)(12).

      17.    Upon information and belief, Defendants have engaged TextBehind,

Inc. (“TextBehind”) to provide services and technology to eliminate the original

postal mail addressed to inmates at the YCP.            Upon information and belief,


                                            5
        Case 1:20-cv-00186-JPW Document 1 Filed 02/03/20 Page 6 of 15




Defendants utilize this technology to scan inmates’ routine postal mail, after which

those scans are digitized for investigative purposes including “smart search” and

“content discovery,” and are uploaded for subsequent review and approval by staff

at the YCP.

      18.     In a letter from the YCP and signed by Warden Doll, Warden Doll

provided his review of “the service provided by TextBehind, Inc to York County

Prison, PA.” The letter indicates that:

      [b]efore engaging TextBehind as the dedicated mail management
      vendor for our facility, we managed all our non-privileged mail the old-
      fashioned way; by physically opening and inspecting each piece of non-
      privileged mail for contraband. Thanks to TextBehind, not only have
      we streamlined practically overnight, we have eliminated hard
      contraband such as drugs, weapons, etc. from non-privileged mail. This
      has increased the safety of our mailroom staff by reducing potential
      exposure to hazardous substances and decreased staffing costs for the
      mailroom.

A copy of the aforementioned letter is attached as Exhibit B.

      19.     Upon information and belief, York County and the YCP continue to

utilize infringing postal-mail-elimination technology, including TextBehind’s

services and technology.

      20.     Upon information and belief, the TextBehind services and technology

that York County and the YCP implemented, and continue to use, provide a “full-

service mail management” system that enables the YCP to, among other things,

approve and reject incoming mail, monitor all connections and communications,


                                          6
        Case 1:20-cv-00186-JPW Document 1 Filed 02/03/20 Page 7 of 15




download from historical archives, and “flag” for review and potentially withhold

from the intended inmate recipient any physical mail determined to contain

contraband or other inappropriate content. See Inmate Mail Management Software

& Service, TextBehind at 2, 4, 7 (attached as Ex. C).

      21.    Thus, upon information and belief, the TextBehind services and

technology that York County and the YCP implemented, and continue to use,

infringe the Asserted Patent.

      22.    More specifically, upon information and belief, York County and the

YCP are utilizing postal-mail-elimination technology that enables the YCP (through

its contract with TextBehind) to, among other things: (1) scan inmates’ physical

mail; (2) digitize the scanned mail to create an electronic copy of the physical mail

for investigative and inmate-identification purposes; (3) upload the electronic copy

of the scanned mail for storage and review by YCP personnel; (4) determine whether

the physical mail contains contraband or other inappropriate content; (5) flag the

electronic copy of the physical mail if it is found to contain contraband or other

inappropriate content; (6) deny delivery of any electronic copies of physical mail

that are found to contain contraband or other inappropriate content; and (7)

electronically deliver approved copies of the scanned physical mail to the

appropriate inmate recipient for viewing on a remote kiosk—all in violation of the

Asserted Patent. York County and the YCP further induce such infringing conduct


                                         7
         Case 1:20-cv-00186-JPW Document 1 Filed 02/03/20 Page 8 of 15




by instructing YCP personnel to perform and use the above-described postal-mail-

elimination technology.

       23.    In addition, upon information and belief, Warden Doll, in carrying out

his official administrative and supervisory duties within the YCP, actively

participates in, and further induces, the above-described infringing conduct.

       24.    On January 7, 2020, counsel for Smart Communications wrote to the

YCP and Warden Doll, identified and provided a copy of the Asserted Patent, and

expressed concern over the YCP’s implementation and use of the above-described,

infringing postal-mail-elimination technology. See January 7, 2020 Cease-and-

Desist Letter to Warden Doll and the YCP (attached as Ex. D). Since at least as

early as that date, Defendants have had actual knowledge of the Asserted Patent and

Smart Communications’ infringement claims. Yet despite Defendants’ knowledge

of the Asserted Patent, they continue to infringe.

       25.    Defendants’ infringement of the Asserted Patent has injured Smart

Communications and will continue to cause further injury unless Defendants are

enjoined from further infringing the claims of the Asserted Patent.

                                    COUNT ONE:
                                PATENT INFRINGEMENT

       26.    Smart Communications IP repeats and realleges paragraphs 1-25 above

as if fully set forth herein.



                                          8
        Case 1:20-cv-00186-JPW Document 1 Filed 02/03/20 Page 9 of 15




      27.    Defendants have directly infringed, and continue to directly infringe, at

least claims 1 and 13 of the Asserted Patent under 35 U.S.C. § 271(a) by using within

the United States the TextBehind postal-mail-elimination methods and systems. For

example, upon information and belief, the infringing postal-mail-elimination

method being utilized by Defendants, through the YCP’s contractual relationship

with TextBehind, includes at least the steps of: (1) receiving postal mail and

associating that mail with an intended inmate recipient; (2) screening the postal mail

for contraband; (3) scanning the postal mail; (4) generating a text-readable electronic

copy of the scanned postal mail for investigative and inmate-delivery purposes; (5)

electronically storing the electronic copy of the scanned postal mail for storage and

review by YCP personnel; (6) flagging the electronic copy of the postal mail if it is

found to contain contraband or other inappropriate content; (7) denying delivery of

any electronic copies of postal mail that are found to contain contraband or other

inappropriate content; (8) electronically delivering approved copies of the scanned

postal mail to the intended inmate recipient for viewing on a remote kiosk; and (9)

logging details relating to the inmate recipient’s access and review of the electronic

copy of the scanned postal mail.

      28.    Furthermore, upon information and belief, the infringing postal-mail-

elimination system being utilized by Defendants contains at least the following

components: (1) a scanning station capable of creating a text-readable electronic


                                          9
       Case 1:20-cv-00186-JPW Document 1 Filed 02/03/20 Page 10 of 15




copy of postal mail, and including an input interface capable of (a) attaching

recipient-inmate information to the electronic copy of the postal mail and associating

the electronic copy of the postal mail with an email account belonging to the

intended inmate recipient, and (b) associating the electronic copy of the postal mail

with an access flag that denies access to the intended inmate recipient if the

electronic copy of the postal mail contains contraband or other inappropriate content;

(2) a server in communication with the scanning station and a network, such that the

scanning station communicates the electronic copy of the postal mail and its

identifying information to the server for storage; (3) a remote kiosk in

communication with the server that is capable of sending and receiving electronic

mail, through which the intended inmate recipient can access the electronic copy of

the postal mail; and (4) a viewing station in communication with the server, through

which YCP personnel can screen and review the electronic copy of the postal mail

prior to delivery to the intended inmate recipient.

      29.    In addition, Defendants have been and are inducing infringement of the

Asserted Patent under 35 U.S.C. § 271(b) by actively and knowingly inducing

others—e.g., YCP personnel—to use the TextBehind postal-mail-elimination

methods and systems. Specifically, at least as early as January 7, 2020, Defendants

had knowledge of the Asserted Patent and that the postal-mail-elimination methods

and systems being used by the YCP infringed the Asserted Patent. Despite that


                                          10
          Case 1:20-cv-00186-JPW Document 1 Filed 02/03/20 Page 11 of 15




knowledge, upon information and belief, Defendants continue to instruct YCP

personnel to perform and use, and continue to teach such YCP personnel how to

perform and use, the infringing postal-mail-elimination methods and systems being

used by the YCP with the knowledge and intent that such YCP personnel would, in

fact, infringe the Asserted Patent.

       30.    Defendants’ infringement has injured and continues to injure Smart

Communications IP and will cause irreparable harm unless Defendants are enjoined

from infringing the claims of the Asserted Patent.

       31.    Defendants’ infringement of the Asserted Patent has been and

continues to be willful under 35 U.S.C. § 284 because Defendants have acted with

knowledge of the Asserted Patent and knowledge that their actions constitute

infringement of the Asserted Patent, or have at least acted with knowledge of an

objectively high likelihood that their actions constitute infringement of the Asserted

Patent.

       32.    Defendants’ actions render this an exceptional case under 35 U.S.C. §

285.

       33.    Smart Communications IP has complied with the statutory requirement

of giving notice of the Asserted Patent to Defendants at least by sending its January

7, 2020 letter to Warden Doll in which Smart Communications IP identified and




                                         11
        Case 1:20-cv-00186-JPW Document 1 Filed 02/03/20 Page 12 of 15




provided a copy of the Asserted Patent, and alleged that the YCP’s use of its postal-

mail-elimination technology infringed the Asserted Patent.

                              COUNT TWO:
                     DEPRIVATION OF FEDERAL RIGHTS

       34.    Smart Communications IP repeats and realleges paragraphs 1-33 above

as if fully set forth herein.

       35.    Defendant Doll, in his capacity as an employee of York County,

deprived and continues to deprive Smart Communications IP of its exclusive federal

patent rights under the Asserted Patent by using or inducing the use of the methods

and systems claimed in the Asserted Patent without authorization.

       36.    Actions for “claims against a local agency may be brought in and only

in a county in which the local agency is located or in which the cause of action arose

or where a transaction or occurrence took place out of which the cause of action

arose.” Judiciary Act Repealer Act Continuation Act of 1980 § 333, Act of October

5, 1980, P.L. 693, 42 P.S. § 20043; Pa. R.C.P. No. 2103(b). Thus, the courts of York

County have exclusive jurisdiction to hear all claims against York County, YCP, and

its employees. York County courts, however, have no jurisdiction to hear patent

cases under 28 U.S.C. § 1338, which grants federal district courts exclusive original

jurisdiction over such cases. Therefore, the York County courts lack authority to

provide adequate remedies for a patent infringement action.



                                         12
       Case 1:20-cv-00186-JPW Document 1 Filed 02/03/20 Page 13 of 15




                                     DAMAGES

      37.      As a result of Defendants’ infringement, Smart Communications IP has

suffered actual and consequential damages. To the fullest extent permitted by law,

Smart Communications IP seeks recovery of damages at least for reasonable

royalties, unjust enrichment, and benefits received by Defendants as a result of their

using misappropriated technology. Smart Communications IP seeks any other

damages to which it is entitled under law or in equity.

                                ATTORNEYS’ FEES

      38.      Smart Communications IP is entitled to recover reasonable and

necessary attorneys’ fees under applicable law.

                           DEMAND FOR JURY TRIAL

      Smart Communications IP hereby demands a jury trial for all issues so triable.

                              PRAYER FOR RELIEF

      WHEREFORE, Smart Communications IP respectfully requests that this

Court enter judgment in its favor as follows:

      A. that Defendants infringe the Asserted Patent;

      B. that Defendants’ infringement of the Asserted Patent was willful, and that

            Defendants’ continued infringement of the Asserted Patent is willful;




                                          13
 Case 1:20-cv-00186-JPW Document 1 Filed 02/03/20 Page 14 of 15




C. awarding Smart Communications IP damages in an amount adequate to

   compensate for Defendants’ infringement of the Asserted Patent, but in no

   event less than a reasonable royalty under 35 U.S.C. § 284;

D. awarding treble damages pursuant to 35 U.S.C. § 284 in view of

   Defendants’ willful infringement;

E. awarding Smart Communications IP pre-judgment and post-judgment

   interest to the full extent allowed under the law, as well as its costs;

F. entering a permanent injunction against Defendants and their agents,

   servants, officers, directors, employees, and persons or entities acting in

   concert with Defendants from infringing the claims of the Asserted Patent;

G. entering an order finding that this is an exceptional case and awarding

   Smart Communications IP its reasonable attorneys’ fees pursuant to under

   35 U.S.C. § 285;

H. awarding Smart Communications IP its costs of suit; and

I. awarding such other and further relief that the Court may deem appropriate

   and just under the circumstances.




                                   14
       Case 1:20-cv-00186-JPW Document 1 Filed 02/03/20 Page 15 of 15




Dated: February 3, 2020            Respectfully submitted,
                                   /s/ John Frank Murphy
                                   John Frank Murphy
                                   JohnMurphy@bakerlaw.com
                                   Baker & Hostetler LLP
                                   Cira Centre, 12th Floor
                                   2929 Arch Street
                                   Philadelphia, PA 19104-2891
                                   Telephone: (215) 564-1603
                                   Facsimile: (215) 568-3439

                                   Katrina M. Quicker (pro hac vice
                                   forthcoming)
                                   kquicker@bakerlaw.com
                                   Jason P. Grier (pro hac vice forthcoming)
                                   jgrier@bakerlaw.com
                                   Baker & Hostetler LLP
                                   1170 Peachtree Street, NE, Suite 2400
                                   Atlanta, GA 30309-7676
                                   Telephone: (404) 459-0050
                                   Facsimile: (404) 459-5734

                                   Attorneys for Smart Communications IP




                                    15
